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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

   State of Georgia, et al.,
                  Plaintiffs,
           v.
                                                          Case No. 2:15-cv-79-LGW-RSB
   Andrew Wheeler, et al.,
               Defendants.

    PLAINTIFF STATES ’ RESPONSE TO INTERVENOR-DEFENDANTS’
          STATEMENT OF UNDISPUTED MATERIALS FACTS
       The Plaintiff States submit this response to the Intervenor-Defendants’ Statement of

Material Undisputed Facts (Statement), ECF No. 211-1, as required by this Court’s order, see

ECF No. 225.

       Rule 56.1 statements are unnecessary in cases brought under the Administrative

Procedure Act (APA) to review final agency action. Review of the challenged agency action in

such cases is based on the administrative record rather than facts raised by the parties in

pleadings. Camp v. Pitts, 411 U.S. 138, 142 (1973) (“[T]he focal point for judicial review should

be the administrative record already in existence, not some new record made initially in the

reviewing court.”); see also Richards v. Immigration & Naturalization Serv., 554 F.2d 1173, 1177

(D.C. Cir. 1977) (questions “pertaining to merit of the administrative decision” are “determined

exclusively on the administrative record”). Indeed, in these cases, the district court does not

resolve facts at all; “[i]n cases involving judicial review of agency action … the district court

acts as an appellate tribunal and ‘the entire case on review is a question of law.’” Stillwell v. U.S.

Dep’t of Commerce, 2017 WL 6947420, at *4 (M.D. Fla. Nov. 27, 2017) (quoting Brinklys v.

Johnson, 175 F. Supp. 3d 1388, 1349 (M.D. Fla. 2016)); see also Nw. Motorcycle Ass’n v. U.S.

Dep't of Agric., 18 F.3d 1468, 1472 (9th Cir. 1994) (“[T]his case involves review of a final

agency determination under the [APA]; therefore, resolution of th[e] matter does not require fact

finding on behalf of this court.”). Thus, although “summary judgment is an appropriate
procedure for resolving” APA challenges, “the standard set forth in Rule 56(a) does not apply.”

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Fulbright v. McHugh, 67 F. Supp. 3d 81, 89 (D.D.C. 2014), aff'd sub nom. Fulbright v. Murphy,

650 F. App'x 3 (D.C. Cir. 2016). “At the summary judgment stage [of APA challenges] the court

does not look at whether there is a genuine issue of material fact, but instead turns directly to the

question of the validity of the challenge.” Malladi v. Brown, 987 F. Supp. 893, 922 (M.D. Ala.

1997), aff'd sub nom. United States v. Ponder, 150 F.3d 1197 (11th Cir. 1998).

          For these reasons, neither statements of undisputed fact nor responses to such statements

are necessary or helpful to resolving this case. See, e.g., Glara Fashion, Inc. v. Holder, No. 11

Civ. 889 (PAE), 2012 WL 352309, at *1 n. 1 (S.D.N.Y. Feb. 3, 2012) (no Rule 56.1 statement

required in administrative record review case); Student X v. New York City Dep’t of Educ., No.

07-cv-2316, 2008 WL 4890440, at *11 (E.D.N.Y. Oct. 30, 2008) (declining to require counter-

statement of undisputed material facts in APA case because “the 56.1 Statement will not aid the

court in its independent review of the [administrative] record”); Karpova v. Snow, 402 F. Supp.

2d 459, 465 (S.D.N.Y. 2005) (summary judgment appropriate without submission of statements

of undisputed facts in APA cases).1

          Nonetheless, subject to the above discussion and in an abundance of caution, the Plaintiff

States’ responses to the Intervenor-Defendants’ Statement follow in correspondingly numbered

paragraphs.

          1. The purpose of the Clean Water Act is “to restore and maintain the chemical, physical,
and biological integrity of our Nation’s waters.” 33 U.S.C. § 1251.

          States’ Response: The Plaintiff States’ claims are brought under the APA, and the court

need not evaluate whether a material dispute of fact exists in a motion for summary judgment,

but instead should evaluate the question of law based on the administrative record. Thus, no

response to this paragraph is necessary. To the extent this Court nonetheless requires a response,

the Plaintiff States do not object to facts in this paragraph to the extent they are consistent with

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    Plaintiff States note that out of an abundance of caution, they filed a statement of undisputed
    material facts with their motion for summary judgment to comply with Local Rule 56.1. As
    with this response, however, they maintain that no such statements are necessary in APA cases.

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the administrative record. To the extent the Intervenor-Defendants have identified “facts” that

are argumentative, reflect legal conclusions, or are inconsistent with a referenced document,

statute, or regulation’s plain language, meaning, or context, the Plaintiff States dispute such

facts. To the extent this paragraph relies on facts outside the administrative record, the Court

should decline to consider or rely on such facts to resolve any claims because that information is

not before the court. To the extent the Court considers such facts, the Plaintiffs dispute them.

       2. The Act allows the Environmental Protection Agency (“EPA”) and the Army Corps of

Engineers (the “Corps”) (collectively, the “Agencies”) to regulate “navigable waters,” which in

turn are defined as “waters of the United States.” 33 U.S.C. § 1251 et seq.; 33 U.S.C. 1362(7).

       States’ Response: See Response No. 1.

       3. Congress did not, however, define the term “waters of the United States.” See 33

U.S.C. 1362.

       States’ Response: See Response No. 1.

       4. Despite this lack of definition, the legislative history of the Clean Water Act makes

clear that Congress intended the term to be interpreted broadly. See S. Conf. Rep. No. 1236

(1972); H.R. Rep. No. 911 (1972); S. Rep. No. 414 (1971).

       States’ Response: See Response No. 1.

       5. The Conference Report for the Clean Water Act observed, “The Conferees fully intend
that the term ‘navigable waters’ be given the broadest possible constitutional interpretation….”

S. Conf. Rep. No. 1236 (1972).

       States’ Response: See Response No. 1.

       6. The House Report explained, “One term that the Committee was reluctant to define

was the term ‘navigable waters.’ The reluctance was based on the fear that any interpretation

would be read narrowly. However, this is not the Committee’s intent. The Committee fully

intends that the term ‘navigable waters’ be given the broadest possible constitutional

interpretation….” H.R. Rep. No. 911 (1972).
       States’ Response: See Response No. 1.

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       7. The Senate Report expressed similar concerns, cautioning that “[t]hrough a narrow

interpretation of the definition of interstate waters the implementation [of the prior water

pollution act] was severely limited.” S. Rep. No. 414 (1971).

       States’ Response: See Response No. 1.

       8. Still, over the past four decades, parties have disagreed about the scope of the

Agencies’ jurisdiction under the Clean Water Act, with industry groups and property owners

seeking to avoid permitting requirements arguing for a narrow construction of the term, and

those seeking to protect the environment arguing for a broad construction. See, e.g., United

States v. Riverside Bayview Homes, Inc., 474 U.S. 121 (1985); Solid Waste Agency of Northern

Cook County v. United States Army Corps of Engineers, 531 U.S. 159 (2001) (SWANCC);

Rapanos v. United States, 547 U.S. 715 (2006).

       States’ Response: See Response No. 1.

       9. The Supreme Court has addressed the scope of the Agencies’ jurisdiction at least three

times since 1985. See United States v. Riverside Bayview Homes, Inc., 474 U.S. 121 (1985);

Solid Waste Agency of Northern Cook County v. United States Army Corps of Engineers, 531

U.S. 159 (2001) (SWANCC); Rapanos v. United States, 547 U.S. 715 (2006).

       States’ Response: See Response No. 1.

       10. In response to these Supreme Court decisions, the Agencies issued guidance
documents in 2003 and 2008. 80 Fed. Reg. at 37,056.

       States’ Response: See Response No. 1.

       11. However, according to the Agencies, “these two guidance documents did not provide

the public or agency staff with the kind of information needed to ensure timely, consistent, and

predictable jurisdictional determinations.” 80 Fed. Reg. at 37,056.

       States’ Response: See Response No. 1.

       12. As a result, “[m]embers of Congress, developers, farmers, state and local

governments, energy companies, and many others requested new regulations to make the process



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of identifying waters protected under the CWA clearer, simpler, and faster.” 80 Fed. Reg. at

37,056.

       States’ Response: See Response No. 1.

       13. Because the guidance documents did not allow for consistent or predictable

enforcement of the Clean Water Act, certain smaller streams (such as intermittent, ephemeral, or

headwater streams) and wetlands were left vulnerable to contamination and degradation, despite

having a “significant nexus” to traditional navigable waters, interstate waters, or the “territorial

seas.” 80 Fed. Reg. at 37,056.

       States’ Response: See Response No. 1.

       14. In the continental United States, intermittent, ephemeral, or headwater streams make

up 58%, or 207,476 miles, of the stream miles that provide water for public drinking water

systems. Geographic Information Systems Analysis of the Surface Drinking Water Provided by

Intermittent, Ephemeral, and Headwater Streams in the U.S. (attached as Ex. 1).

       States’ Response: See Response No. 1.

       15. That means that approximately 117 million people—over one third of the entire U.S.

population —get some or all of their drinking water from public drinking water systems that rely

at least in part on these vulnerable streams. Geographic Information Systems Analysis of the

Surface Drinking Water Provided by Intermittent, Ephemeral, and Headwater Streams in the U.S.
(attached as Ex. 1).

       States’ Response: See Response No. 1.

       16. Millions of people living in the states that are plaintiffs in this case depend on public

drinking water systems that draw at least in part from ephemeral, intermittent, or headwater

streams. Geographic Information Systems Analysis of the Surface Drinking Water Provided by

Intermittent, Ephemeral, and Headwater Streams in the U.S. (attached as Ex. 1).

       States’ Response: See Response No. 1.

       17. In Georgia, for example, over 4.9 million people—nearly half the state’s
population—receive drinking water from systems that rely at least in part on intermittent,

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ephemeral, or headwater streams. See Percentage of Surface Drinking Water from Intermittent,

Ephemeral, and Headwater Streams in Georgia (attached as Ex. 2).

       States’ Response: See Response No. 1.

       18. The Clean Water Rule also restores the protections of the Clean Water Act to

important wetlands left vulnerable to contamination and degradation under the guidance

documents.

       States’ Response: See Response No. 1.

       19. “[W]etlands can perform critical functions related to the integrity of other waters—

functions such as pollutant trapping, flood control, and runoff storage.” Rapanos, 547 U.S. at 779

(Kennedy, J., concurring in the judgment).

       States’ Response: See Response No. 1.

       20. The role of wetlands in reducing flood peaks is particularly valuable: according to

EPA, “[o]ne review of wetland studies reported that riparian wetlands reduced or delayed floods

in 23 of 28 studies.” EPA, Connectivity of Streams and Wetlands to Downstream Waters: A

Review and Synthesis of the Scientific Evidence (“Science Report”), ID-20858, at ES-9 (2015)

(attached as Ex. 3).

       States’ Response: See Response No. 1.

       21. Wetlands also “store large amounts of sediment and organic matter from upstream
and from upland areas. For example, riparian areas have been shown to remove 80−90% of

sediments leaving agricultural fields in North Carolina.” Science Report at ES-9.

       States’ Response: See Response No. 1.

       22. The Agencies estimate that the Final Rule’s restoration of protection to wetlands may

result in public benefits of $306 to $501 million annually. EPA & Corps, Economic Analysis of

the EPA-Army Clean Water Rule, ID-20866, at 50-52 (2015) (attached as Ex. 4).

       States’ Response: See Response No. 1.

       23. Because the guidance documents did not allow for consistent or predictable
enforcement of the Clean Water Act, and thus left many small streams and wetlands vulnerable to

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contamination and degradation, the Agencies began a process to formally amend the 1986

regulatory definition of “Waters of the United States.” See 79 Fed. Reg. 22,188.

       States’ Response: See Response No. 1.

       24. As part of this process, the Agencies proposed a rule clarifying the definition of

“waters of the United States” on April 21, 2014. 79 Fed. Reg. 22,188.

       States’ Response: See Response No. 1.

       25. The Agencies solicited comments on the proposed rule for over 200 days. 80 Fed.

Reg. at 37,057.

       States’ Response: See Response No. 1.

       26. Among other things, the Agencies sought comment about “establishing specific

geographic limits” or “distance limitations” for the category of adjacent waters. 79 Fed. Reg. at

22,208-09.

       States’ Response: See Response No. 1.

       27. Many commenters—including states and industry groups—complained that the

proposed definition of “adjacent” was “too vague” and “too expansive.” Response to Comments

(“RTC”), available at https://www.epa.gov/cwa-404/response-comments-clean-water-rule-

definition-waters-united-states (last accessed Sept. 27, 2018) (excerpts attached as Ex. 8) Topic 3

at 18. “The dominant request was to identify specific limits.” Id.
       States’ Response: See Response No. 1.

       28. Indeed, several commenters suggested, opposed, or commented on the use of

numerical distance limitations to define the term “adjacent” during the comment period. See,

e.g., RTC Topic 3 at 153-54.

       States’ Response: See Response No. 1.

       29. For example, the State of Georgia supported the inclusion of “specific geographic

limits,” “including, for example, distance limitations” and clear floodplain rules to be included in

the definition of adjacency. RTC Topic 3 at 153-54.
       States’ Response: See Response No. 1.

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       30. The proposed rule also noted that “distance of hydrological connection” would be a

factor considered for case-by-case determinations. 79 Fed. Reg. at 22,214.

       States’ Response: See Response No. 1.

       31. All told, the Agencies received “over one million public comments on the proposal,

the substantial majority of which supported the proposed rule.” 80 Fed. Reg. at 37,057.

       States’ Response: See Response No. 1.

       32. The Agencies responded to public comments in a nearly 7,500 page response to

comments, the Rule’s Preamble, and the Technical Support Document. See generally RTC;

Technical Support Document for the Clean Water Rule (“Tech. Support Document”), ID-20869,

at 190 (attached as Ex. 7), 80 Fed. Reg. 37,054.

       States’ Response: See Response No. 1.

       33. Among other topics, the Agencies addressed and responded to comments relating to

the application of the OHWM standard in the arid West. See, e.g., RTC Topic 8 at 313-14, 316,

and 345-46, and Topic 9 at 25-28.

       States’ Response: See Response No. 1.

       34. The Agencies also addressed and responded to concerns that the Clean Water Rule

would expand the area subject to federal regulatory jurisdiction. See, e.g., RTC Topic 1 at 171-

72; RTC Topic 4 at 453-55; RTC Topic 5 at 18-19; Tech. Support Doc. at 30-34.
       States’ Response: See Response No. 1.

       35. Likewise, the Agencies responded to concerns that the Clean Water Rule would

eliminate permitting exemptions for agricultural activities. See, e.g., RTC Topic 1 at 13-14; RTC

Topic 6 at 30-31; RTC Topic 7 at 311, Topic 12 at 747, 750-51, 755-56.

       States’ Response: See Response No. 1.

       36. In addition to soliciting public comments, the Agencies also received “input provided

through…over 400 meetings nationwide with states, small businesses, farmers, academics,

miners, energy companies, counties, municipalities, environmental organizations, other federal
Agencies, and many others.” 80 Fed. Reg. at 37,057.

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        States’ Response: See Response No. 1.

        37. In so doing, the Agencies conducted unprecedented outreach to a wide range of

stakeholders and sought feedback from all types of stakeholders including small entities. See 80

Fed. Reg. 37,057; see also, e.g., 2014 EPA Regional Proposed Rule Meetings/Events, ID-13182

(attached as Ex. 5); 2014 EPA Headquarters Proposed Rule Meetings/Events, ID-13183 (attached

as Ex. 6).

        States’ Response: See Response No. 1.

        38. For example, in 2011, in collaboration with the Office of Management and Budget

and the Small Business Association, the Agencies conducted an outreach meeting of small

business participants from the oil and gas sector, the farming and agriculture sector, the

construction and development sectors, the manufacturing sector, municipal storm sewer systems

or publicly owned treatment plants, and non-governmental organizations to gather input on

jurisdictional policies. Final Report of the Discretionary Small Entity Outreach for the Clean

Water Rule, ID-20865 (attached as Ex. 12) at 7-8.

        States’ Response: See Response No. 1.

        39. In 2014, the Agencies again met with small entities in these sectors and others,

including the mining sector, fertilizer and pesticide use entities, and the power industry. Final

Report of the Discretionary Small Entity Outreach for the Clean Water Rule, ID-20865 (attached
as Ex. 12) at at 11.

        States’ Response: See Response No. 1.

        40. Before issuing the Clean Water Rule, the Agencies reviewed “more than 1,200 peer-

reviewed scientific papers and other data and information including jurisdictional

determinations, relevant agency guidance and implementation manuals, and federal and state

reports that address connectivity of aquatic resources and effects of downstream waters.” Tech.

Support Document at 93.

        States’ Response: See Response No. 1.



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       41. “[T]he purpose of the review and synthesis [was] to summarize current scientific

understanding about the connectivity and mechanisms by which streams and wetlands, singly or

in aggregate, affect the physical, chemical, and biological integrity of downstream waters.” Tech.

Support Document at 94-95.

       States’ Response: See Response No. 1.

       42. The Agencies considered, among other things, impacts caused by the “transport of

physical materials and chemicals such as water, wood, and sediment, nutrients, pesticides, and

mercury; movement of organisms or their seeds or eggs; and hydrologic and biogeochemical

interactions occurring in surface and groundwater flows, including hyporheic zones and alluvial

aquifers.” Tech. Support Document at 95.

       States’ Response: See Response No. 1.

       43. The Agencies used this scientific foundation to craft regulatory language that was

“easier to understand, consistent, and environmentally more protective” than the Agencies’ prior

regulations and guidance. 80 Fed. Reg. at 37,057.

       States’ Response: See Response No. 1.

       44. As part of this process, EPA’s Office of Research and Development prepared a

comprehensive report entitled “Connectivity of Streams and Wetlands to Downstream Waters: A

Review and Synthesis of the Scientific Evidence.” 80 Fed. Reg. at 37,057.
       States’ Response: See Response No. 1.

       45. The Science Report provides “much of the technical basis for th[e] rule.” 80 Fed.

Reg. at 37,057.

       States’ Response: See Response No. 1.

       46. The process for creating the Science Report complied with and exceeded all

administrative requirements. See generally Def. Int. Response Br.

       States’ Response: See Response No. 1.

       47. At the same time the Agencies published the proposed rule, they released a Draft
Science Report for review and comment. See Connectivity of Streams and Wetlands to

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Downstream Waters: A Review and Synthesis of the Scientific Evidence (September, 2013

External Review Draft) (“Draft Science Report”), ID-0004, at 3-4; 3-33; 4-21 to 4-23; 5-57; 6-3

(attached as Ex. 10).

       States’ Response: See Response No. 1.

       48. The Draft Science Report contained a review of nearly 1,000 peer-reviewed scientific

studies on the “connectivity or isolations of streams and wetlands relative to large water bodies

such as rivers, lakes, estuaries, and oceans.” Draft Science Report at 1-1, 1-3.

       States’ Response: See Response No. 1.

       49. Prior to publication, the Draft Science Report underwent several rounds of internal

and external peer review.

       States’ Response: See Response No. 1.

       50. In addition, the Draft Science Report was reviewed by a Scientific Advisory Board

(“SAB”) panel. 80 Fed. Reg. at 37,062.

       States’ Response: See Response No. 1.

       51. The SAB was established “to provide independent scientific and technical advice to

the EPA Administrator on the technical basis for Agency positions and regulations.” 80 Fed. Reg.

at 37,062.

       States’ Response: See Response No. 1.
       52. The panel consisted of “27 technical experts in an array of relevant fields, including

hydrology, wetland and stream ecology, biology, geomorphology, biogeochemistry, and

freshwater science.” 80 Fed. Reg. at 37,062. The panel members represented “academia, a

federal government agency, non-profit organizations, and consulting firms.” 80 Fed. Reg. at

37,062.

       States’ Response: See Response No. 1.

       53. The SAB panel held several public meetings and hearings. 80 Fed. Reg. at 37,062.

       States’ Response: See Response No. 1.



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       54. In October 2014, the SAB panel completed its peer review of the Draft Science

Report. SAB Science Report Review, ID-8046, at 1 (attached as Ex. 11).

       States’ Response: See Response No. 1.

       55. Although the SAB panel provided guidance to improve the Science Report, it

concluded that the Draft Science Report was “a thorough and technically accurate review of the

literature on the connectivity of streams and wetlands to downstream waters.” SAB Science

Report Review at 1.

       States’ Response: See Response No. 1.

       56. In addition to its peer review of the Draft Science Report, the SAB also reviewed “the

adequacy of the scientific and technical basis of the proposed rule” itself. 80 Fed. Reg. at 37,064.

       States’ Response: See Response No. 1.

       57. The SAB found, “[T]he available science supports the conclusion that the types of

water bodies identified as ‘waters of the United States’ in the proposed rule exert strong

influence on the chemical, physical, and biological integrity of downstream waters.” 80 Fed.

Reg. at 37,064.

       States’ Response: See Response No. 1.

       58. Regarding tributaries, the SAB found, “[t]here is strong scientific evidence to support

the EPA's proposal to include all tributaries within the jurisdiction of the Clean Water Act.
Tributaries, as a group, exert strong influence on the physical, chemical, and biological integrity

of downstream waters, even though the degree of connectivity is a function of variation in the

frequency, duration, magnitude, predictability, and consequences of physical, chemical, and

biological processes.” 80 Fed. Reg. at 37,064.

       States’ Response: See Response No. 1.

       59. Regarding “adjacent waters” and wetlands, the SAB found, “[t]he available science

supports the EPA's proposal to include ‘adjacent waters’ and wetlands as a waters of the United

States…because [they] have a strong influence on the physical, chemical, and biological integrity
of navigable waters.” 80 Fed. Reg. at 37,064.

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       States’ Response: See Response No. 1.

       60. Regarding case-by-case waters, the SAB found that “scientific literature has

established that ‘other waters' can influence downstream waters, particularly when considered in

aggregate,” and “thus found it ‘appropriate to define ‘other waters' as waters of the United States

on a case-by-case basis, either alone or in combination with similarly situated waters in the same

region.’” 80 Fed. Reg. at 37,064.

       States’ Response: See Response No. 1.

       61. The Agencies themselves provided substantial expertise as well. As they noted, “The

agencies, most often the Corps, have made more than 400,000 CWA jurisdictional

determinations since 2008. Of those, more than 120,000 have been case-specific significant

nexus determinations. The agencies have made determinations in every state in the country, from

the arid West to the tropics of Hawaii, from the Appalachian Mountains in the East to the lush

forests of the Northwest.” Tech. Support Doc. at 178.

       States’ Response: See Response No. 1.

       62. On June 29, 2015, the Agencies issued the final rule, entitled “Clean Water Rule:

Definition of ‘Waters of the United States.” 80 Fed. Reg. 37,054.

       States’ Response: See Response No. 1.

       63. The purpose of the Clean Water Rule is to remove uncertainty and clarify the scope of
the Agencies’ jurisdiction by defining “waters of the United States.” 80 Fed. Reg. 37,054.

       States’ Response: See Response No. 1.

       64. The Clean Water Rule does not violate the Clean Water Act or Supreme Court

precedent interpreting that Clean Water Act. See generally Def. Int. Response Br.

       States’ Response: See Response No. 1.

       65. The Clean Water Rule complies with the Administrative Procedure Act. See generally

Def. Int. Response Br.

       States’ Response: See Response No. 1.



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       66. The “arbitrary and capricious standard is exceedingly deferential.” Miccosukee Tribe

of Indians of Fla. v. United States, 566 F.3d 1257, 1264 (11th Cir. 2009). A rule is arbitrary and

capricious only if the agency “relied on factors which Congress has not intended it to consider,

entirely failed to consider an important aspect of the problem, offered an explanation for its

decision that runs counter to the evidence before the agency, or is so implausible that it could not

be ascribed to a difference in view or the product of agency expertise.” Id.

       States’ Response: See Response No. 1.

       67. The Court is “not authorized to substitute [its] judgment for the agency’s as long as

[the agency’s] conclusions are rational.” Miccosukee Tribe of Indians of Fla. v. United States,

566 F.3d 1257, 1264 (11th Cir. 2009).

       States’ Response: See Response No. 1.

       68. The Clean Water Rule is not a substantial or transformative encroachment on state

law. See generally Def. Int. Response Br.

       States’ Response: See Response No. 1.

       69. The Clean Water Rule is constitutional, and does not violate the Commerce Clause,

the Tenth Amendment, or the Due Process Clause of the Fifth Amendment. See generally Def.

Int. Response Br.

       States’ Response: See Response No. 1.
       70. The Agencies complied with the Regulatory Flexibility Act. See generally Def. Int.

Response Br.

       States’ Response: See Response No. 1.

       71. The Agencies did not engage in unlawful advocacy campaigns. See generally Def. Int.

Response Br.

       States’ Response: See Response No. 1.




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   Respectfully submitted.

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                              CERTIFICATE OF SERVI CE
       I hereby certify that on December 10, 2018, I served this motion by electronically filing it

with this Court’s ECF system, which constitutes service on all attorneys who have appeared in

this case and are registered to use the ECF system.



                                                      /s/ Andrew A. Pinson
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